   Case: 1:21-cv-00430 Document #: 216 Filed: 05/14/25 Page 1 of 2 PageID #:2300




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MYA BATTON, AARON BOLTON,
MICHAEL BRACE, DO YEON IRENE KIM,
ANNA JAMES, JAMES MULLIS,
THEODORE BISBICOS, and DANIEL
PARSONS, individually and on behalf of all
others similarly situated,

                   Plaintiffs,

       v.                                            Case No. 1:21-cv-00430

THE NATIONAL ASSOCIATION OF                          Judge LaShonda A. Hunt
REALTORS, ANYWHERE REAL ESTATE,
INC. (f/k/a REALOGY HOLDINGS CORP.),                 Magistrate Judge M. David Weisman
RE/MAX, LLC, and KELLER WILLIAMS
REALTY, INC.,

                   Defendants.



                                    NOTICE OF MOTION

To: All Counsel of Record

       PLEASE TAKE NOTICE that on Tuesday, May 20, 2025 at 10:00 a.m., or as soon

thereafter as they may be heard, Plaintiffs’ counsel shall appear before the Honorable LaShonda

A. Hunt or any Judge sitting in their stead in Courtroom 1425 of the U.S. District Court for the

Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois

60604, and shall present the following motion: Plaintiffs’ Partially Unopposed Motion to

Amend the Case Schedule (ECF No. 215). Plaintiffs and Defendants have met and conferred

and The National Association of Realtors (“NAR”) and Keller Williams Realty, Inc. (“Keller

Williams”) have stated that they do not oppose Plaintiffs’ request. However, Defendants

RE/MAX LLC (“RMLLC”) and Anywhere Real Estate, Inc. formerly known as Realogy


                                                1
   Case: 1:21-cv-00430 Document #: 216 Filed: 05/14/25 Page 2 of 2 PageID #:2301




Holdings Corp. (“Anywhere” and, together with NAR, Keller Williams, and RMLLC,

“Defendants”) have stated that they oppose any extension of the deadlines beyond one month.

Plaintiffs, RMLLC, and Anywhere have met and conferred and jointly propose that RMLLC’s

and Anywhere’s opposition be filed by May 28, 2025, and that Plaintiffs’ reply in support be

filed by June 4, 2025.

                                        Respectfully submitted,

     Dated: May 14, 2025                 /s/ Randall P. Ewing, Jr.
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                                        Counsel for Plaintiffs and the Proposed Class




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